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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                     LONDON

  UNITED STATES OF AMERICA,                      )
                                                 )
        Plaintiff,                               )               Criminal No: 13-20-GFVT
                                                 )
  V.                                             )
                                                 )
  SUZANN JUDY PHILLIPS,                          )                       ORDER
                                                 )
        Defendant.                               )


                                    ***    ***       ***   ***

         This matter is before the Court on the Report and Recommendation [R. 648] filed

  by United States Magistrate Judge Hanly A. Ingram. The Report and Recommendation

  addresses the issue of whether Defendant Suzann Phillips is competent to stand trial

  pursuant to 18 U.S.C. § 4241 and §4247(d). Judge Ingram advises that based on the

  competency examination performed by Dr. Christine Anthony, Phillips is competent to

  stand trial and recommends that the Court find her competent for further proceedings in

  this matter.

         Judge Ingram’s Report advises the parties that any objections must be filed within

  fourteen (14) days of service. [R. 648 at 5.] The time to file objections has passed, and

  neither party has objected nor sought an extension of time to do so.

         Generally, this Court must make a de novo determination of those portions of the

  Report and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1)(c).

  When no objections are made, this Court is not required to “review . . . a magistrate’s

  factual or legal conclusions, under a de novo or any other standard . . . .” See Thomas v.
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  Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a magistrate’s report and

  recommendation are also barred from appealing a district court’s order adopting that

  report and recommendation. United States v.Walters, 638 F.2d 947 (6th Cir. 1981).

  Nevertheless, this Court has examined the record, and agrees with the Magistrate Judge’s

  Report and Recommendation.

          Accordingly, the Court being sufficiently and otherwise advised, it is hereby

  ORDERED as follows:

          (1)      The Magistrate Judge’s Report and Recommendation [R. 648] is

  ADOPTED as the opinion of this Court;

          (2)      The Court FINDS that Phillips is competent to face further proceedings in

  this matter including trial;

          (3)      This case is set for Jury Trial on Tuesday, August 19, 2014, at the hour of

  10:00 a.m. in London, Kentucky;

          (4)      The pretrial deadlines set forth by the Scheduling Order shall be relative

  to these new dates and not the previously set trial date; and

          (5)      In the event a plea agreement is reached in this matter, any motion for

  rearraignment shall be filed no later than (14) days of the current Jury Trial date.

  Further, to the extent a written plea agreement exists between the parties, the United

  States of America is directed to provide a courtesy copy to the undersigned’s Chambers

  at GFVT_chambers@kyed.uscourts.gov no later than two (2) days before the scheduled

  rearraignment.


          This 14th day of July, 2014.




                                                2
